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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 J.G.G., et al.,

         Plaintiffs,
                   v.                                  Civil Action No. 25-766 (JEB)


 DONALD J. TRUMP, et al.,

         Defendants.


                                            ORDER

       Here and concurrently in the Court of Appeals, Defendants seek an emergency stay

pending appeal of this Court’s Probable Cause Order. See ECF Nos. 80 (Probable Cause Order),

88 (Mot.), 89 (Mot. Br.). The Court will deny the Motion. The Court does not believe that

Defendants have made an adequate showing on the merits, nor convincingly shown they will

suffer irreparable harm in providing the information required by the Order. The public interest,

furthermore, weighs in favor of permitting the Court’s contempt inquiry to proceed. See ECF

No. 81 (Probable Cause Op.) at 2.

       Among other problems, Defendants’ arguments rely on a misconstruction of the Court’s

directive. Having found probable cause that they committed criminal contempt, the Court

required Defendants to choose one of two paths. See Order at 1. First, they can opt to purge

their probable contempt and explain to the Court how they will do so. Id. In its Opinion, the

Court observed that the “most obvious way” for them to do so would be by choosing to “assert[]

custody of the individuals who were removed in violation of the Court’s classwide TRO so that

they might avail themselves of their right to challenge their removability through a habeas



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proceeding.” Op. at 43–44. In offering the Government a chance to voluntarily assert custody of

the people it placed in a foreign prison, then, the Order did not “forc[e] the government to

successfully execute foreign diplomacy” in violation of the separation of powers. See Mot. Br. at

11. The Court expressly allowed, moreover, that Defendants could “propose other methods of

coming into compliance.” Op. at 44. Whether to purge the likely contempt, and whether to do

so by voluntarily asserting custody of those individuals in Salvadoran jail, is entirely up to

Defendants. If they do not want to “make what was wrong, right,” Abrego Garcia v. Noem, 2025

WL 1135112, at *1 (4th Cir. Apr. 17, 2025), they can choose the second path: identify the

individual(s) whose conduct caused the noncompliance. See Order at 1. Although the Opinion

noted that the Court might eventually refer this matter for prosecution, see Op. at 44 (citing Fed.

R. Crim. P. 42(a)(2)), we are not at that juncture. Their separation-of-powers arguments

concerning any future prosecution(s), see Mot. Br. at 8–11, are therefore premature and

misplaced.

       For the foregoing reasons, the Court ORDERS that Defendants’ [88] Emergency Motion

for a Stay Pending Appeal is DENIED.




                                                              /s/ James E. Boasberg
                                                              JAMES E. BOASBERG
                                                              Chief Judge
Date: April 18, 2025




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